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                                                            6
                                                                Attorneys for Plaintiffs The Morning Star Packing Company,
                                                            7   Liberty Packing Company, LLC, California Fruit & Tomato
                                                                Kitchens, LLC, and The Morning Star Company
                                                            8

                                                            9

                                                           10                                   UNITED STATES DISTRICT COURT
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                                                           11                                   EASTERN DISTRICT OF CALIFORNIA

                                                           12

                                                           13    THE MORNING STAR PACKING COMPANY,                   )   Case No. 2:09-CV-00208 KJM-EFB
                                                                 a California limited partnership; LIBERTY           )
                                                           14    PACKING COMPANY, LLC, a California                  )
                                                                 limited liability company; CALIFORNIA               )   NOTICE OF STIPULATED REQUEST FOR
                                                           15    FRUIT & TOMATO KITCHENS, LLC, a                     )
                                                                 California limited liability company; and THE       )   DISMISSAL WITH PREJUDICE AS TO ONLY
                                         law corporation




                                                           16    MORNING STAR COMPANY, a California                  )   DEFENDANTS RANDALL RAHAL AND
                                                                 corporation,                                        )   INTRAMARK USA, INC.
                                                           17                                                        )
                                                                                  Plaintiffs,                        )
                                                           18                                                        )   AND ORDER
                                                                         vs.                                         )
                                                           19                                                        )
                                                                 SK FOODS, L.P., a California limited                )
                                                           20    partnership; SCOTT SALYER, an individual;           )
                                                                 RANDALL RAHAL, an individual;                       )
                                                           21    INTRAMARK USA, INC., a New Jersey                   )   Complaint Filed: January 22, 2009
                                                                 corporation; INGOMAR PACKING                        )   Trial Date: No trial date set
                                                           22    COMPANY, LLC, a California limited liability        )
                                                                 company; GREG PRUETT, an individual; LOS            )
                                                           23    GATOS TOMATO PRODUCTS; STUART                       )
                                                                 WOOLF, an individual; ALAN HUEY, an                 )
                                                           24    individual; and DOES 1 through 50,                  )
                                                                 inclusive,                                          )
                                                           25                                                        )
                                                                                  Defendants.
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                                                                       Plaintiffs The Morning Star Packing Company, Liberty Packing Company, LLC,
                                                           28
                                                                California Fruit & Tomato Kitchens, LLC, and The Morning Star Company (collectively,
                                                                                                                           Notice of Stipulated Request for Dismissal as to Only
                                                                 {2642475.DOC;}                                  1                 Defendants Rahal and Intramark USA; Order
                                                                                                                                              Case No. 2:09-cv-00208-KJM-EFB
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                                                            1   “Plaintiffs”) and defendants Randall Rahal and Intramark USA, Inc. (collectively, the “Rahal

                                                            2   Defendants”), by and through their attorneys of record, file this stipulation and proposed

                                                            3   order of dismissal with prejudice of only the Rahal Defendants pursuant to Federal Rules of

                                                           4    Civil Procedure, rule 41(a)(2).

                                                            5          Plaintiffs filed their Complaint on January 22, 2009, naming the Rahal Defendants and

                                                            6   others as defendants. On or about November 6, 2009, Plaintiffs and the Rahal Defendants

                                                            7   entered into a confidential settlement agreement resolving all disputes between them and

                                                            8   which provided that a dismissal with prejudice would be filed upon successful completion of

                                                            9   specified conditions precedent. The parties executed a First Amendment to Settlement

                                                           10   Agreement and Mutual General Release dated March 18, 2019 (the “Amended Settlement
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                                                           11   Agreement”). In accordance with the terms and conditions of the Amended Settlement

                                                           12   Agreement, Plaintiffs and the Rahal Defendants hereby stipulate and request that only the

                                                           13   Rahal Defendants be dismissed with prejudice in the above-entitled action pursuant to

                                                           14   rule 41(a)(2) of the Federal Rules of Civil Procedure. Plaintiffs and the Rahal Defendants further

                                                           15   stipulate that each side shall bear its own attorneys’ fees and costs.
                                         law corporation




                                                           16          IT IS SO STIPULATED.

                                                           17                                        Respectfully submitted,

                                                           18   Dated: April 11, 2019         WEINTRAUB TOBIN CHEDIAK COLEMAN GRODIN
                                                                                                     Law Corporation
                                                           19

                                                           20                                        By:    /s/ Dale C. Campbell
                                                                                                            Dale C. Campbell, SBN 99173
                                                           21
                                                                                                     Attorneys for Plaintiffs The Morning Star Packing
                                                           22   Company,
                                                                                                     Liberty Packing Company, LLC, California Fruit & Tomato
                                                           23                                        Kitchens, LLC, and The Morning Star Company
                                                           24
                                                                Dated: April 11, 2019                ADAMS BUCHAN & PALO LLC
                                                           25

                                                           26                                        By:    /s/ Christopher Adams
                                                                                                            Christopher Adams
                                                           27
                                                                                                     Attorneys for Defendants Randall Rahal and
                                                           28                                        Intramark USA, Inc.
                                                                                                                        Notice of Stipulated Request for Dismissal as to Only
                                                                 {2642475.DOC;}                                 2               Defendants Rahal and Intramark USA; Order
                                                                                                                                           Case No. 2:09-cv-00208-KJM-EFB
                                                                 Case 2:09-cv-00208-KJM-EFB Document 332 Filed 04/22/19 Page 3 of 3

                                                            1

                                                            2                                              ORDER

                                                            3          Having reviewed the above Stipulated Request for Dismissal with Prejudice by Plaintiffs

                                                           4    The Morning Star Packing Company, Liberty Packing Company, LLC, California Fruit & Tomato

                                                            5   Kitchens, LLC, and The Morning Star Company (collectively, “Plaintiffs”) and defendant Randall

                                                            6   Rahal and defendant Intramark USA, Inc., and good cause appearing therefor,

                                                            7          IT IS HEREBY ORDERED that Plaintiffs’ action as to only defendant Randal Rahall and

                                                            8   defendant Intramark USA, Inc. is dismissed with prejudice. Each side shall bear its own

                                                            9   attorneys’ fees and costs.

                                                           10          IT IS SO ORDERED.
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                                                           11   Dated: April 19, 2019.
                                                           12

                                                           13
                                                                                                                  UNITED STATES DISTRICT JUDGE
                                                           14

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                                         law corporation




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                                                                                                                      Notice of Stipulated Request for Dismissal as to Only
                                                                 {2642475.DOC;}                               3               Defendants Rahal and Intramark USA; Order
                                                                                                                                         Case No. 2:09-cv-00208-KJM-EFB
